Case 2:12-cr-00003-JRG-RSP           Document 222         Filed 05/11/12       Page 1 of 2 PageID #:
                                            388



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §     CASE NO. 2:12-CR-3-17 -JRG-RSP
                                                 §
 JESSICA NICOLE BICKHAM                          §


             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

        On May 4, 2012, this cause came before the undersigned United States Magistrate Judge

 for a plea of guilty to an indictment charging the defendant in Count 798 with a violation of 21

 U.S.C. ' 841(c), Possession of a List 1 Chemical with Intent to Manufacture Methamphetamine.

 After conducting said proceeding in the form and manner prescribed by FED. R. CRIM. P. 11, the

 undersigned finds that:

        a.      the defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea in this cause by a United States

 Magistrate Judge, subject to a final acceptance and imposition of sentence by the District Judge;

        b.      the defendant and the government have entered into a plea agreement which has

 been filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(c)(2);

        c.      the defendant is fully competent and capable of entering an informed plea, that the

 defendant is aware of the nature of the charges , the maximum penalties, and the consequences of

 the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

 basis in fact containing each of the essential elements of the offense; and
Case 2:12-cr-00003-JRG-RSP            Document 222       Filed 05/11/12      Page 2 of 2 PageID #:
                                             389



          d.     the defendant understands each of the constitutional and statutory rights

 enumerated in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

          IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

 Agreement and the Guilty Plea of the defendant and that JESSICA NICOLE BICKHAM should
. be finally adjudged guilty of that offense.

          A party=s failure to file written objections to the findings, conclusions and

 recommendations contained in this Report within 14 days after being served with a copy shall

 bar that party from de novo review by the district judge of those findings, conclusions and

 recommendations and, except on grounds of plain error, from appellate review of unobjected-to

 factual findings and legal conclusions accepted and adopted by the district court. FED. R. CIV. P.

 72(b)(2); see Douglass v. United Servs. Auto. Ass=n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en

 banc).
          SIGNED this 3rd day of January, 2012.
          SIGNED this 10th day of May, 2012.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




                                                  2
